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September 24, 2020



The Honorable J. Paul Oetken
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


Re:    United States v. David Correia, 19 Cr. 725 (JPO)


Dear Judge Oetken:

         I represent David Correia in this matter. This letter addresses the Court’s Order dated
September 22, 2020 concerning our motion to withdraw, which we had requested be filed under seal.
(Document 122). The Court directed us to submit a letter explaining any proposed redactions of the
declarations submitted in support of our withdrawal motion (“Declarations”). The Court wrote that “the
fact that Mr. Correia has not paid his legal bills” is not privileged and therefore does not meet the
Lugosch standard for sealing judicial documents. The Court added that information may be redacted
“[t]o the extent that the declarations include privileged or other confidential communications.” Id.

       Our understanding is that the withdrawal papers we submitted are not judicial documents
subject to Lugosch’s strong presumption of public access. Not all judicial filings are subject to the
Lugosch standard. The Lugosch Court held that documents “submitted to, and accepted by, a court of
competent jurisdiction in the course of adjudicatory proceedings” enjoy a presumption of public access
under the common law and the First Amendment. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
122 & 124 (2d Cir. 2006). The Second Circuit analyzed summary judgment papers in a civil matter and
held that they constitute such judicial documents because the papers support a motion seeking a
“dispositive” resolution of the litigation. Id. at 122. Since a presumption of access applied, sealing of the
documents could only be justified “with specific, on-the-record findings that sealing is necessary to
preserve higher values and only if the sealing order is narrowly tailored to achieve that aim.” Id. at 124.

         Unlike summary judgment papers, withdrawal papers about a criminal defendant’s relationship
with counsel – including the defendant’s ability to pay for counsel and his failure to pay existing counsel
– are not judicial documents because they do not relate to a motion that settles a dispositive issue in
the litigation. Compare In Re Boston Herald, Inc., 321 F.3d 174, 180 (1st Cir. 2003) (denying a request
to disclose CJA 23 forms and statements of fees owed to counsel because “CJA eligibility documents
are not essentially judicial in character”) with Lugosch, 435 F.3d at 124 (“Because … summary
judgment is an adjudication, … oral arguments relating to a motion for summary judgment fall into the
category of civil proceedings to which there is a First Amendment presumption of access.”).

       Therefore, we respectfully submit that the sealing rationale we offered – that the withdrawal
motion and the Declarations “pertain to Mr. Correia’s relationship with counsel” – is the reason why
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these are not judicial documents about a dispositive issue subject to the Lugosch standard of public
access. In re Boston Herald, Inc., 321 F.3d at 189 (holding that “CJA eligibility documents related
merely to the judge’s role in management of the trial” and thus are not judicial documents subject to
disclosure).

        Even if the public access presumption applied, however, it is also our understanding that
privilege is not the sole basis to redact information. Court’s have recognized that personal financial
information, including a history of payments to counsel, are private and that such a privacy interest may
overcome public access presumptions. “Personal financial information, such as one’s income or bank
account balance, is universally presumed to be private, not public.” In re Boston Herald, Inc., 321 F.3d
at 190 (holding that financial privacy would justify the non-public nature of CJA 23 forms and
statements of fees owed counsel even if such documents were covered by the common law right of
access).

         A criminal defendant’s inability to pay for counsel does not go to the merits of the criminal case,
and filings about it risk unwarranted attention to Mr. Correia’s need for appointed counsel. Such
compelled disclosures “could well discourage eligible defendants from availing themselves of their right
to counsel.” Id. at 188. The Court’s sealing authority is intended to allow the Court to “deny access
where ‘court files might have become a vehicle for improper purposes’ and to ‘insure that its records
are not ‘used to gratify private spite or promote public scandal.’” Id. at 190.

        For these reasons, we respectfully request that the Court seal this letter and the accompanying
Declarations in support of our motion. In the alternative, we have attached versions of the Declarations
that propose redactions about Mr. Correia’s finances. We do not assert the Declarations contain
privileged communications. We request sealing to protect Mr. Correia’s financial privacy.


Respectfully submitted,

       /s/ William J. Harrington

William J. Harrington


Cc:    Mr. Jeff Marcus, Esq.
